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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES ‐‐ GENERAL

Case No.       CV 18-3325-MWF(ASx)                                Dated: November 18, 2019

Title:         Amazon Content Services, LLC, et al. -v.- Set Broadcast, LLC, et al.


PRESENT: HONORABLE MICHAEL W. FITZGERALD, U.S. DISTRICT JUDGE

                Christine Chung for Rita Sanchez          Amy Diaz
                Courtroom Deputy                          Court Reporter

 ATTORNEYS PRESENT FOR PLAINTIFFS:                ATTORNEYS PRESENT FOR DEFENDANTS:

                 Elizabeth A. Kim                         NOT PRESENT

PROCEEDINGS:          MOTION FOR DEFAULT JUDGMENT [65]

         The Courtroom Deputy Clerk issues the Court’s tentative ruling, prior to the hearing.

       Case called, and counsel makes an appearance. Counsel for defendant is not present.
The Court invites counsel to present oral argument. Court and counsel confer. For the reasons
stated on the record, the Court takes the matter under submission. An Order will issue.




MINUTES FORM 90                                                          Initials of Deputy Clerk      CCH
CIVIL – GEN                                                                                         0: 01 min.
